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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

GEORGIA STATE CONFERENCE OF THE
NAACP; GEORGIA COALITION FOR THE
PEOPLE’S AGENDA, INC.; and NEW
GEORGIA PROJECT, INC.,           Case __________


           Plaintiffs,

v.

BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, and BRAD
RAFFENSPERGER, Secretary of State of
Georgia, in his official capacity,


           Defendants.



PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF EMERGENCY
    MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                PRELIMINARY INJUNCTION
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                                 INTRODUCTION

      Plaintiffs seek an emergency temporary restraining order (“TRO”) from this

Court to prevent the disenfranchisement of Georgians impacted by the effects of

Hurricane Helene and impeded in their ability to register to vote by the existing

October 7, 2024 deadline. Residents in many counties across the state have faced,

and continue to face, widespread flooding, damaged roadways, power outages, and

internet outages, as well as suspended postal service and the closure of county boards

of election offices. Compounding these significant issues is the fact that Defendant

Secretary of State is aware that the Secretary of State’s online voter registration

platform has been inaccessible and/or experiencing persistent glitches today.

Undersigned counsel have also received multiple reports of voters experiencing

difficulty using the Secretary of State’s online voter registration platform today.

      As such, registering to vote during the crucial period leading up to the voter

registration deadline—when Georgia typically sees a significant spike in

registrations—has been significantly impeded or impossible for thousands of

Georgians. Without a TRO ordering Defendants to allow Georgians additional time

to register to vote, innumerable citizens across the state, including those in counties

with disproportionately large populations of Black voters, will lose the right to vote

in November.




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      First, the current voter registration deadline violates the First and Fourteenth

Amendments to the Constitution in light of the circumstances caused by Hurricane

Helene. The constitutionally guaranteed right to vote cannot be abridged without

adequate justification, and there is no legitimate state interest that outweighs the

burden on Plaintiffs’ rights here. Second, Defendants’ failure to extend the voter

registration deadline to account for the lost week violates the National Voter

Registration Act (“NVRA”), which requires states to allow eligible voters to register

for a period of time until at least 30 days before Election Day, if not later.

      For the reasons set forth below, Plaintiffs respectfully request that this Court

order the extension of the voter registration deadline statewide, or, in the alternative,

in all counties that have experienced widespread or prolonged power outages,

internet outages, postal service disruptions, and/or county office closures, including

those listed in Plaintiffs’ Complaint, and in any other county that experienced similar

disruptions, for a period up to and including October 14, 2024.

      I.     FACTUAL BACKGROUND

      The voter registration deadline for the November 5, 2024 General Election in

Georgia is Monday, October 7, 2024. See O.C.G.A. § 21-2-224(a). Georgians cannot

vote in the General Election without meeting the registration deadline. See id. Due

to Hurricane Helene and its aftermath, boards of elections offices in numerous

counties were closed in the period between September 27 to October 6. Millions of



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people faced, and continue to face, power, internet, and cellular outages during this

period; postal facilities in many locations were closed; and prospective voters across

the state faced those and other significant hardships that hindered their ability to

register to vote in the days leading up to the deadline.

        Georgia state law requires that the main elections office in each county

“remain open for business during regular office hours on each business day, except

Saturday” and “be open at such designated times other than the normal business

hours as shall reasonably be necessary to facilitate registration and at such other

hours as will suit the convenience of the public.” O.C.G.A. § 21-2-215(c). Among

other methods, Georgia residents may apply to vote in person at their county

elections office or by mailing a paper application to the Georgia Secretary of State

or their county elections office. O.C.G.A. § 21-2-220(a).1 Applicants with access to




1
    Section 21-2-220(a) of the Georgia Code provides in full:
         Any person desiring to register as an elector shall apply to do so by
         making application to a registrar or deputy registrar of such person's
         county of residence in person, by submission of the federal post card
         application form as authorized under Code Section 21-2-219, by
         making application through the Department of Driver Services as
         provided in Code Section 21-2-221, by making application through the
         Department of Natural Resources as provided in Code Section 21-2-
         221.1, by making application online as provided in Code Section 21-2-
         221.2, by making application through designated offices as provided in
         Code Section 21-2-222, or by making application by mail as provided
         in Code Section 21-2-223.


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the internet and a current Georgia driver’s license or state identification card may

register to vote online. O.C.G.A. § 21-2-221.2.

      Hurricane Helene made landfall as a high-end Category 2 hurricane just seven

business days before the October 7, 2024 voter registration deadline.

https://www.theguardian.com/us-news/2024/oct/02/hurricane-helene-destruction-

timeline. Governor Kemp declared a state of emergency for all of Georgia’s 159

counties on September 24, 2024. https://gov.georgia.gov/document/2024-executive-

order/09242401/download. On September 30, the Georgia Supreme Court issued a

Statewide Judicial Emergency Order, which terminates on October 30.

https://www.gasupreme.us/wp-content/uploads/2024/09/Helene-Chief-Justice-

Emergency-Order-final_signed.pdf. On October 1, 2024, Governor Kemp extended

the      state     of      emergency,         which      remains       in      effect.

https://gov.georgia.gov/document/2024-executive-order/10012401/download.

Moreover, the Georgia Emergency Management and Homeland Security Agency

declared a Major Disaster in 41 counties. https://gema.georgia.gov/press-

releases/2024-10-02/major-disaster-declared-41-georgia-counties-individual-and-

public. The Federal Emergency Management Agency (“FEMA”) declared 53

counties as disaster areas for purposes of federal relief to families and individuals.

https://www.fema.gov/disaster/4830/designated-areas.




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        As Defendants are aware from historical data, significant numbers of Georgia

residents typically register to vote in the days leading up to the registration deadline.

According to an analysis of the data supplied in the Secretary of State’s Statewide

Voter       List,    see     https://georgiasecretaryofstate.net/collections/voter-list-

1/products/statewide-voter-list, in the last presidential election year, over 57,000

people registered to vote during the week before the deadline, compared with

approximately 36,000 the week prior. During the 2022 midterms, almost 28,000

people registered to vote during the week before the deadline, compared with fewer

than 18,000 the week prior. Thus, the timing of Hurricane Helene could not have

been worse for access to participate in the election in Georgia.

        All methods of voter registration were severely curtailed between September

26 and October 7. Across the state, approximately 1.3 million people suffered power

outages after the storm, preventing access to online voter registration.

https://www.ajc.com/news/crime/helene-in-georgia-death-toll-rises-to-33-nearly-

300k-still-without-power/CK5O5AUOPFBMLASFJD7I4PVTGY/. Nearly 300,000

residents       remained      without       power       as      of      October       3.

https://www.wtoc.com/2024/10/03/georgia-death-toll-hurricane-helene-rises-33-




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gov-kemp-says/. As of 9:00 PM on October 6, many people remained without power

in at least 26 counties.2

      Registration was also significantly impeded for Georgians who needed to

register to vote in person. Based on publicly available information,3 at least thirty-

seven county election boards were closed for some period of time following the

storm,4 and at least ten county boards remained closed until today.5

      Hurricane Helene also caused major disruptions for mail-in voter registration

in Georgia. The United States Postal Service (“USPS”) suspended mail services the

in 315- and 316- zip codes and closed dozens of facilities, including in Montgomery,

Wheeler, Columbia, Jefferson, Evans, Richmond, Warren, Tattnall, McIntosh,




2
  By County, Georgia Power Outage Map,
https://outagemap.georgiapower.com/reports/59c1e70f-68f4-4dcb-a92e-
c096199a1ebf (last visited October 6, 2024, 8:50 PM).
3
  Counsel surveyed county websites and social media pages to collect information
on county board closures. Many counties did not include information on closures,
so the actual number of counties that experienced closures is likely significantly
higher. Due to interruptions in internet and cellular service, those trying to register
would also have had difficulty accessing information about these closures and
reopenings, even if the information was publicly available online.
4
  USPS Temporarily Suspended Mail Delivery and Retail Operations - Georgia
newsroom - About.usps.com (last visited Oct. 6, 2024, at 11:27p.m. ET);
Fox 5 Atlanta, USPS temporarily suspends services at several Georgia locations,
Yahoo.com (Sep. 28, 2024), https://www.yahoo.com/news/usps-temporarily-
suspends-services-several-030916824.html (last visited Oct. 6, 2024, at 11:35
p.m.).
5
  These include Bulloch, Columbia, Jefferson, Lowndes, Richmond, and Toombs.

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McDuffie, Screven, Effingham, Bryan, Emanuel, Glascock, Burke, Wheeler, Rabun,

Lincoln, Toombs, Candler, Jenkins, Bulloch, Wilkes, Liberty, and Laurens counties.6

      Plaintiffs and their members experienced the impact of Hurricane Helene on

the opportunity for eligible Georgians to register to vote first-hand. Plaintiffs

Georgia Coalition for the People’s Agenda (“GCPA” or “People’s Agenda”) and

Georgia State Conference of the NAACP (“GA NAACP”) have members across

Georgia, including in the southern and eastern parts of the state. Decl. of Helen

Butler (“Butler Decl.”), attached hereto as Exhibit 1, ¶ 5; Decl. of Gerald Griggs

(“Griggs Decl.”), attached hereto as Exhibit 2, ¶¶ 6–9. Promoting and protecting the

voting rights of Black voters, other voters of color, and underserved communities is

central to the mission of Plaintiffs GCPA, GA NAACP, and New Georgia Project

(“NGP”). Butler Decl. ¶ 4; Griggs Decl. ¶ 4; Decl. of Francys Johnson (“Johnson

Decl.”), attached hereto as Exhibit 3, ¶ 3. Plaintiffs undertake voter registration

efforts throughout Georgia, including in the southern and eastern parts of the state,

in service of this mission. See Butler Decl. ¶¶ 7–8; Griggs Decl. ¶ 10; Johnson Decl.




6
 USPS Temporarily Suspended Mail Delivery and Retail Operations - Georgia
newsroom - About.usps.com (last visited Oct. 6, 2024, at 11:27p.m. ET);
Fox 5 Atlanta, USPS temporarily suspends services at several Georgia locations,
Yahoo.com (Sep. 28, 2024), https://www.yahoo.com/news/usps-temporarily-
suspends-services-several-030916824.html (last visited Oct. 6, 2024, at 11:35
p.m.).

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¶¶ 6–8. Hurricane Helene and Defendants’ refusal to extend the voter registration

deadline has frustrated that mission.

      Plaintiffs’ planned voter registration activities in counties across southern and

eastern Georgia were canceled or severely curtailed in the aftermath of Hurricane

Helene. For example, the voter registration efforts of Plaintiff GCPA traditionally

increase in number and intensity as the voter registration deadline approaches, with

the heaviest activity generally occurring in the days leading up to the close of voter

registration. Butler Decl. ¶ 8. The People’s Agenda planned to make its final efforts

to register new voters between Friday, September 27, and Monday, October 7, in

counties across the southern and eastern parts of the state, including Augusta-

Richmond, Burke, Columbia, McDuffie, Screven, Effingham, Bulloch, Bryan,

Liberty, Tattnall, Chatham, McIntosh, Wayne, Pierce, Evans, Camden, Lowndes,

Brooks, Decatur, Colquitt, Tift, Lee, Warren, and Washington counties. Butler Decl.

¶¶ 7, 10. Because Hurricane Helene and its aftermath created conditions which

would not allow GCPA coordinators, volunteers, and canvassers to safely or

effectively conduct voter registration activities, efforts to register voters in typically

high traffic areas in these counties were significantly impaired, if not stopped

completely. Butler Decl. ¶¶ 12–14. The People’s Agenda also had voter registration

events in Lowndes County, Augusta-Richmond County, and Liberty County

scheduled to take place between September 27 and October 7 that the organization



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was forced to cancel because of Hurricane Helene, including an event at Valdosta

State University in Lowndes County. Butler Decl. ¶ 11.

      The People’s Agenda relies on county boards of registrars to supply blank

paper voter registration applications and then returns transmittal summary sheets and

the completed voter registration applications to the county boards. Butler Decl. ¶ 9.

Hurricane Helene caused significant power outages, internet outages, property

damage, road closures and blockages and flooding. Butler Decl. ¶ 14. In the

aftermath of the storm, county registrar offices in Lowndes County, Augusta-

Richmond County, and Bulloch County were closed from at least September 30 to

October 6, and as a result, the People’s Agenda was not able to pick up or return

voter registration applications in those counties. Butler Decl. ¶ 15.

      Plaintiff GA NAACP voter registration activities were also stalled by

Hurricane Helene. Prior to Hurricane Helene, GA NAACP planned several local

voter registration drives, particularly in Valdosta, Lowndes County, and Augusta-

Richmond County. Griggs Decl. ¶ 15. However, as a result of the conditions posed

by Hurricane Helene and its aftermath, GA NAACP was forced to cancel at least ten

of these events. Griggs Decl. ¶¶ 15–16. All GA NAACP branches were closed

between September 27, 2024, and October 4, 2024, as a result of the hurricane, and

the Augusta-Richmond County and Coffee County branches are still closed as of

today. Griggs Decl. ¶ 17.



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      Plaintiff NGP also experienced significant disruption to their activities as a

result of Hurricane Helene. NGP was forced to cancel several door-to-door

canvassing voter registration shifts targeting Black residents in Lowndes and

Augusta-Richmond counties from October 4 to October 7. Johnson Decl. ¶ 11.

NGP’s Augusta office in Augusta-Richmond County still has not recovered from

Hurricane Helene, and the office remains closed today on October 7, 2024. Johnson

Decl. ¶ 12. NGP also needs to coordinate with county registrar offices in order to

conduct its voter registration activities, and the organization was unable to

coordinate with the Augusta-Richmond County Board of Elections office from

September 27, 2024, at least through October 6, 2024, because the office has been

closed. Johnson Decl. ¶ 15. Because of the closure of the county registrar and NGP’s

own office, and road closures, power outages, and other damage caused by Hurricane

Helene, NGP’s Augusta-Richmond office did not report supporting any Georgian in

registering to vote or any NGP volunteer completing a canvassing shift last week.

Johnson Decl. ¶¶ 12–15.

      II.   ARGUMENT

      The standard for obtaining a TRO is the same as the standard for obtaining a

preliminary injunction. Windsor v. United States, 379 F. App’x 912, 916–17 (11th

Cir. 2010). To obtain a TRO, the moving party must demonstrate that: (1) “it has a

substantial likelihood of success on the merits;” (2) “irreparable injury will be



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suffered unless the injunction issues;” (3) “the threatened injury to the movant

outweighs whatever damage the proposed injunction may cause the opposing party;”

and (4) “if issued, the injunction would not be adverse to the public interest.”

Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223, 1225–26 (11th Cir. 2005). All

four factors weigh in favor of Plaintiffs, and Plaintiffs are entitled to a TRO.

             A. Plaintiffs Are Likely to Succeed on the Merits of Their Claims.

                        1. The Current Voter Registration Deadline Imposes a
                           Severe Burden on the Right to Vote Without Sufficient
                           Justification.

      Plaintiffs are likely to succeed on the merits of their claims. The right to vote

“is of the most fundamental significance under our constitutional structure.” Burdick

v. Takushi, 504 U.S. 428, 433 (1992) (citation omitted); see also Yick Wo v. Hopkins,

118 U.S. 356, 370 (1886); Georgia Coal. for the Peoples’ Agenda, Inc. v. Deal, 214

F. Supp. 3d 1344, 1345 (S.D. Ga. 2016) (“An individual’s ability to participate in

local and national elections is arguably the most cherished right enshrined in our

constitution.”).   In    assessing   whether   a   voting    practice   or   procedure

unconstitutionally burdens the right to vote, courts apply the Anderson-Burdick test

to “weigh the character and magnitude of the asserted First and Fourteenth

Amendment injury against the state’s proffered justifications for the burdens

imposed by the rule, taking into consideration the extent to which those justifications

require the burden to plaintiffs’ rights.” Democratic Exec. Comm. of Fla. v. Lee, 915



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F.3d 1312, 1318 (11th Cir. 2019). Thus, “the rigorousness of [the] inquiry into the

propriety of a state election law depends upon the extent to which a challenged

regulation burdens First and Fourteenth Amendment rights.” Burdick v. Takushi, 504

U.S. 428, 434 (1992).

      In light of the devastating effects of Hurricane Helene, the burden on the right

to vote imposed by the existing registration deadline is severe—effectively a

complete deprivation. Hurricane Helene significantly impeded or effectively

canceled voter registration opportunities across the state throughout the entire week

leading up to the deadline. Compounding this harm is the fact that, according to

analysis of data from the Secretary of State’s Statewide Voter List, see

https://georgiasecretaryofstate.net/collections/voter-list-1/products/statewide-voter-

list, Georgia voter registrations spike in the last week of registration even compared

to the prior week. In the 2020 presidential election, the final week of voter

registration was almost 58% up from the prior week. This was no anomaly, as the

final week of the 2022 midterm elections similarly saw an increase in registrations

of almost 56%. More than two and a half times as many people registered to vote in

the final week of registration in 2016 than during the week prior, for a total of more

than 60,000. These patterns demonstrate that the number of eligible Georgians who

planned to register in the final week was likely very high, and that the impact of

Hurricane Helene’s effects was therefore even greater. And because these voters


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have not been able to register, failing to extend the registration deadline means they

will not be able to vote in the 2024 election.

      While the total impact is impossible to calculate, at least 1.3 million Georgia

residents suffered power outages; 300 Georgia roads were made impassable; and

approximately 60,000 miles of road were severely impacted.7 And as of October 6,

at 9 p.m., there were still many people without power in at least Appling, Bacon,

Berrien, Chatham, Coffee, Columbia, Dekalb, Echols, Emanuel, Fulton, Glascock,

Glynn, Jeff Davis, Jefferson, Lincoln, Lowndes, McDuffie, Montgomery,

Richmond, Tattnall, Telfair, Terrell, Toombs, Treutlen, Ware, and Warren counties.8

      Governor Kemp and Secretary Raffensperger have failed to rectify this

impairment by extending the voter registration deadline. Because of the statewide

nature of the crisis, the parties request a statewide response: to extend the ability of

Georgians to register to vote.




7
  Rosanna Hughes, Helene in Georgia: More than 400,000 Still Without Power,
Atlanta Journal-Constitution (Oct. 2, 2024)
https://www.ajc.com/news/crime/helene-in-georgia-more-than-400000-still-
without-power-vp-harris-to-visit/MDSIPBQ5IVBZXPROZQMDICHPLA/; see
also, Rosanna Hughes, Helene in Georgia: Death Toll Rises to 33; Nearly 300k
Still Without Power, Atlanta Journal-Constitution (Oct. 3, 2024)
https://www.ajc.com/news/crime/helene-in-georgia-death-toll-rises-to-33-nearly-
300k-still-without-power/CK5O5AUOPFBMLASFJD7I4PVTGY/
8
  By County, Georgia Power Outage Map,
https://outagemap.georgiapower.com/reports/59c1e70f-68f4-4dcb-a92e-
c096199a1ebf (last visited October 6, 2024, 8:50 PM).

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      Courts faced with similar situations following a hurricane coinciding with the

statutory voter registration deadline have found that an extension was warranted. In

2016, the U.S. District Court for the Southern District of Georgia found that

injunctive relief to extend the voter registration deadline was justified in light of “the

physical, emotional, and financial strain Chatham County residents faced in the

aftermath of Hurricane Matthew.” Georgia Coal. for the Peoples’ Agenda, Inc. v.

Deal, 214 F. Supp. 3d 1344, 1345 (S.D. Ga. 2016). The court noted that while “the

extension would present some administrative difficulty,” especially as the extended

registration deadline would now fall after the start of advance voting—which

Plaintiffs here do not request—allowing impacted voters additional time to register

to vote under the circumstances was “a rather small consolation on behalf of their

government.” Id. at 1345–46.

      Similarly, the U.S. District Court for the Northern District of Florida ordered

an extension of the voter registration deadline following the destruction of Hurricane

Matthew. Fla. Democratic Party v. Scott, 215 F. Supp. 3d 1250, 1259 (N.D. Fla.

2016). The court found that the rights of Florida voters were severely burdened

because the state’s statutory framework “would categorically deny the right to vote

to those individuals” who were prevented from registering to vote and voting in the

upcoming election due to the hurricane. Id. at 1257. Comparatively, “the burden on

the State [] in extending voter registration [was], at best de minimis.” Id. (noting that



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other states had extended their deadlines and that many states permitted same-day

registration).

       Most recently, and in response to Hurricane Helene, a court in South Carolina

extended the voter registration deadline statewide due to the “extensive flooding and

wind damage across much of South Carolina,” the “[n]umerous county courthouses

and other state and local offices [that] were closed on Friday, September 27, 2024,”

and the persistent power outages. South Carolina Democratic Party v. Knapp, No.

2024-cp-40-05967, at *3 (S.C. Com. Pl. Oct. 4, 2024). The court found that

“[a]lthough not every county in the State has been affected in the same way, all the

counties have been impacted, as recognized by the [statewide] orders and declaration

that affect all or significant parts of the State. The [state] Constitution recognizes

that standards for voting must be uniform statewide. Therefore, the new deadline

must apply statewide.” Id. at *4. The devastation in Georgia warrants the same

response from this Court.

       Moreover, after a court-ordered extension of the voter registration deadline in

Chatham County, Georgia, in 2016, a total of 1,418 prospective voters submitted

voter registration applications during the time period of the extension (See Exhibit

4, Plaintiffs’ Status Report). These voters would have been disenfranchised as a

result of Hurricane Matthew without judicial intervention. Plaintiffs here are asking




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for the same relief that ensured voters in Chatham County did not lose their

fundamental right to vote in 2016.

                      2. Defendants’ Failure to Extend the Voter Registration
                         Deadline Violates the NVRA.

      Plaintiffs are also likely to succeed on their claim that Defendants’ failure to

extend the voter registration deadline violates the NVRA. Specifically, Section 8 of

the NVRA requires states to process any voter registration form received or

postmarked no later than the lesser of 30 days before an election or a period set by

state law. 52 U.S.C. § 20507(a)(1). Each State is required to “ensure” that eligible

applicants are registered to vote if they appropriately submit an application “not later

than the lesser of 30 days, or the period provided by State law, before the date of the

election.” 52 U.S.C. § 20507(a)(1)(A)–(D).

      The State has set a voter registration deadline that facially complies with this

provision under ordinary circumstances. Because Hurricane Helene effectively

foreclosed the ability of eligible Georgians to register to vote by all methods, failing

to extend the voter registration deadline in the face of a natural disaster that stripped

prospective voters of their opportunity to register to vote during the final days of the

voter registration period effectively moved the deadline back by more than a week,

in violation of this provision. While this early closure of voter registration was the

result of the hurricane and not the fault of election officials, the violation of the

NVRA—and its effect on voters—is the same.


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      Failing to extend the deadline is inconsistent with the very purpose of the

NVRA, which is, unequivocally, to expand the franchise—to “increase the number

of eligible citizens who register to vote in elections” and “to enhance[] the

participation of eligible citizens as voters.” 52 U.S.C. § 20501. The NVRA was

enacted “to ensure that no American is denied the ability to participate in Federal

elections because of real or artificial barriers … [and] to make voter registration an

inclusive, rather than an exclusive opportunity in the United States.” 139 Cong. Rec.

H495-04 (1993) (statement of Rep. Martin Frost).

      The NVRA was particularly concerned with addressing and mitigating

barriers to registration. Its Senate sponsors acknowledged that “[w]hile most

contributing factors may not be affected by legislation, one—difficulties

encountered by some who desire to register to vote—is susceptible to correction by

legislation.” S. Rep. 103-6, at 2 (1993). Similarly, House members recognized that

“[t]he unfinished business of registration reform is to reduce these obstacles to

voting to the absolute minimum while maintaining the integrity of the electoral

process.” H.R. Rep. 103-9, at 3 (1993). In contrast, denying the request to extend the

registration deadline thwarts Congress’s purpose in passing the NVRA: to “increase

the number of eligible citizens who register to vote” and “enhance[] the participation

of eligible citizens as voters.” 52 U.S.C. § 20501. Failing to extend the deadline

constitutes exactly the type of artificial barrier that the NVRA was designed to



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protect against. Plaintiffs are likely to succeed on their NVRA claim, and this factor

weighs in favor of Plaintiffs.

             B. A TRO Is Necessary to Avoid Irreparable Harm.

      The second TRO factor weighs in favor of Plaintiffs. The violation of a

citizen’s right to vote is the quintessential injury justifying an injunction. See, e.g.,

Touchston v. McDermott, 234 F.3d 1133, 1158-59 (11th Cir. 2000) (“[B]y finding an

abridgement to the voters’ constitutional right to vote, irreparable harm is presumed

and no further showing of injury need be made.”); Common Cause/Ga. v. Billups,

406 F. Supp. 2d 1326, 1376 (N.D. Ga. 2005) (“[T]he right to vote is a fundamental

right and is preservative of all other rights. Denying an individual the right to vote

works a serious, irreparable injury upon that individual.”); Fla. Democratic Party,

215 F. Supp. 3d at 1258 (“This is not a case where failing to grant the requested relief

would be a mere inconvenience to Plaintiff and its members. Instead, if aspiring

eligible Florida voters are barred from registering to vote then those voters are

stripped of one of our most precious freedoms.”).

      Absent action by this Court, the likely thousands of voters who could not

register while power was down, roads were impassible, and county election and post

offices were closed will be unfairly disenfranchised, an injury that can never be

undone. Thus, prospective voter registration applicants will suffer irreparable harm

unless the Court grants the requested relief.



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             C. The Threatened Injury to the Right to Vote Outweighs Any
                Administrative Inconvenience to Defendants.

      The third TRO factor also weighs in Plaintiffs’ favor. As discussed above, the

harm that would come from eligible Georgians who were prevented from registering

to vote because of a natural disaster will be disenfranchised would be immeasurable.

On the other hand, the requested relief will not subject Defendants to any

unreasonable hardship under the circumstances. Unlike in Deal, Plaintiffs’ requested

relief would not require registration to extend into the advance voting period. 214

F. Supp. 3d at 1345 (granting extension of voter registration deadline even where

county would face some administrative inconvenience from extending deadline until

after start of advance voting). While there may be some administrative

inconvenience in extending the voter registration deadline, such inconvenience

would not be a sufficient burden to justify disenfranchising eligible Georgians. As

in Florida following Hurricane Matthew, Georgia “has the ability to set its own

deadlines and has an interest in maintaining those deadlines. But it would be

nonsensical to prioritize those deadlines over the right to vote, especially given the

circumstances here.” Fla. Democratic Party, 215 F. Supp. 3d at 1258.

             D. A TRO Is in the Public Interest.

      The public interest will be best served by allowing every eligible resident of

Georgia to register and cast a vote, thereby preserving this fundamental right and

fostering trust in the integrity of the elections. See Fla. Democratic Party, 215 F.


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Supp. 3d at 1258; Washington Ass’n of Churches v. Reed, 492 F. Supp. 2d 1264,

1271 (W.D. Wash. 2006); Charles H. Wesley Educ. Found., Inc. v. Cox, 408 F.3d

1349, 1355 (11th Cir. 2005); Ga. State Conf. of the NAACP v. Fayette Cnty. Bd. of

Comm’rs, 118 F. Supp. 3d 1338, 1348–49 (N.D. Ga. 2015); Hunter v. Hamilton

Cnty. Bd. of Elections, 635 F.3d 219, 244 (6th Cir. 2011).

      In sum, relief from this Court is urgently needed to protect Georgians against

the deprivation of fundamental voting rights enjoyed by citizens under the

Constitution and laws of the United States. Unless the requested relief is granted,

thousands of prospective voter registration applicants are likely to be

disenfranchised solely as a result of a natural disaster that was totally outside of their

control. Such a result would be not only unfair, but a violation of their fundamental

right to vote and a violation of the National Voter Registration Act.

      III.   RELIEF REQUESTED

      Plaintiffs respectfully request the Court grant their emergency motion for a

temporary restraining order and grant the following relief:

   1. discontinue enforcement of the current voter registration deadline for the State

      of Georgia, and

   2. extend the voter registration deadline for the State of Georgia by all methods,

      including online, in-person, and mail registration, up to and including October

      14, 2024; or, in the alternative,



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   3. discontinue enforcement of the current voter registration deadline, and

      extend the voter registration deadline by all methods, including online, in-

      person, and mail registration, for all counties that have experienced

      widespread or prolonged power outages, internet outages, postal service

      disruptions, or office closures, including those listed in Plaintiffs’ Complaint,

      and any other county that experienced similar disruptions, up to and including

      October 14, 2024.

                                     CONCLUSION

      Plaintiffs respectfully request that this Court grant Plaintiffs’ motion for a

temporary restraining order and preliminary injunctive relief.




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Respectfully submitted, this 7th day of October 2024.

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                                * Motion for Admission Pro Hac Vice
                                Forthcoming




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